                                                                               Case 3:05-cr-00375-SI         Document 415        Filed 08/02/06     Page 1 of 1



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                                                                         5                               IN THE UNITED STATES DISTRICT COURT
                                                                         6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8   UNITED STATES OF AMERICA,                              No. C 05-00375 SI
                                                                         9                  Plaintiff,                              ORDER REFERRING               MATTER        TO
                                                                                                                                    MAGISTRATE JUDGE
                                                     10                        v.
                                                     11                      ENRIQUE CHAN, et al.,
United States District Court




                                                     12                                     Defendants.
                                                                                                                         /
                                                     13
                               For the Northern District of California




                                                     14                             On July 25, 2006, counsel for defendant Sergio Alvarez informed the Court by letter of a

                                                     15                      potential conflict of interest in his representation of Alvarez. The Court hereby REFERS this matter to

                                                     16                      the Magistrate Judge Spero, the current criminal duty judge, for consideration.

                                                     17                             IT IS SO ORDERED.
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                                                     19                      Dated: August 2, 2006
                                                                                                                                             SUSAN ILLSTON
                                                     20                                                                                      United States District Judge
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